                      Case 4:09-cr-00309-BRW                    Document 20           Filed 03/31/10              Page 1 of 7
AD 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1
=========================~F====

                                          UNITED STATES DISTRICT COURAt;1~A:,~RK
                                                          Eastern District of Arkansas                       By                           DE? CLERK
                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )                             4:07CR00302-01-WRW
               ALAN LEE EDWARD GLAZIER                                     )                             4:09CR00309-01-WRW; 4:09CR00311-01-WRW
                                                                                  Case Number:
                                                                           )
                                                                           )      USM Number: 24894-009
                                                                           )
                                                                           )      LISA PETERS
                                                                                  Defendant's Attorney
THE DEFENDANT:
!¢"pleaded guilty to count(s)          1 in 4:07CR00302-01; 1 and 2 in 4:09CR00309-01; and, 1 in 4:09CR00311-01

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended
 18 U.S.C. § 2113(a)&(d)           Aiding and Abetting Attempted Armed Bank Robbery,                              8/22/2007                1

                                       a Class B Felony (4:07CR00302-01-WRW)

 18 U.S.C. § 2113(a)               Bank Robbery, a Class C Felony (4:09CR00309-01)                              8/22/2007                  1

       The defendant is sentenced as provided in pages 2 through           __7__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)     - - - - - - - - - - - - - -
                                                         D is      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chanEe of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                           3/30/2010




                                                                           Wm. R. WILSON, JR.                             U.S. District Judge
                                                                          Name ofJudge                                   Title of Judge


                                                                           3/31/2010
                                                                          Date
                    Case 4:09-cr-00309-BRW                Document 20     Filed 03/31/10     Page 2 of 7
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet lA

                                                                                           Judgment-Page   2        of   7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                 Nature of Offense                                     Offense Ended            Count
18 U.S.C. § 2113(a) and          Aiding and Abetting Bank Robbery, a Class C Felony    8/22/2007                2
  18 § 2                            (in 4:09CR00309-01)

18 U.S.C. § 2113(a)              Bank Robbery, a Class C Felony (in 4:09CR00311-01)    8/22/2007
                      Case 4:09-cr-00309-BRW                  Document 20            Filed 03/31/10         Page 3 of 7
AD 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                       Judgment -   Page   _-",3_ of   7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    91 MONTHS FOR COUNT ONE IN 4:07CR00302-01-WRW; COUNTS ONE AND TWO IN 4:09CR00309-01-WRW; AND,
    COUNT ONE IN 4:09CR00311-01-WRW TO RUN CONCURRENTLY TO EACH OTHER.



      'Vf The court makes the following recommendations to the Bureau of Prisons:
    The defendant is to participate in residential substance abuse and mental health treatment and educational and vocational
    programs during incarceration.
    The defendant is to be placed in a federal correctional facility in Oklahoma or Texarkana, Texas.

      'Vf The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at                                   0 a.m.       o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                       Case 4:09-cr-00309-BRW                  Document 20            Filed 03/31/10           Page 4 of 7
AD 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release

                                                                                                                           4_ of
                                                                                                           Judgment-Page _ _                   7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 5 YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[J     The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any l'ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal
          record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                  Case 4:09-cr-00309-BRW             Document 20          Filed 03/31/10        Page 5 of 7
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release

                                                                                             Judgment-Page    5     of      7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant will participate, under the guidance and supervision of the probation officer, in a substance abuse treatment
 program which may include testing, outpatient counseling, and residential treatment. Further, the defendant shall abstain
 from the use of alcohol throughout the course of treatment. This is based upon alcohol abuse indicated in the presentence
 report.

 The defendant will participate in mental health counseling under the guidance and supervision of the U.S. Probation Office.

 Pursuant to 12 U.S.C. §§ 1785 and 1829, the defendant will not obtain employment in an institution insured by the FDIC or
 a Federal Credit Union.

 The defendant will disclose financial information upon request of the Probation Office, including, but not limited to, loans,
 lines of credit and tax returns. This also includes records of any business with which the defendant is associated. No new
 lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
 satisfied.

 As noted in the report, the defendant is not a legal resident of this district. Therefore, the judgment and commitment order
 will contain a statement that the period of supervised release is to be administered by the district where the defendant is a
 legal resident or the district where a suitable release plan has been developed.
                      Case 4:09-cr-00309-BRW                     Document 20           Filed 03/31/10            Page 6 of 7
AD 2458    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                         Judgment - Page      6     of        7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                        Fine                                  Restitution
TOTALS             $ 400.00                                            $ 0.00                               $ 92,743.18


 D The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 36641I), all nonfederal victims must be paid
     before the United States is paId.

 Name of Payee                                                        Total Loss*             Restitution Ordered          Priority or Percentage
  Sabine State Bank                                                              $71,643.18

  Arvest Bank                                                                    $21,100.00




TOTALS                               $                    92,743.18          $   - - - - - - - - -
                                                                                                     0.00


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

rif The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    rif the interest requirement is waived for the D fine rif restitution.
      D the interest requirement for the              D   fine   D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.
                     Case 4:09-cr-00309-BRW                      Document 20              Filed 03/31/10            Page 7 of 7
AD 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page       7      of          7
DEFENDANT: ALAN LEE EDWARD GLAZIER
CASE NUMBER: 4:07CR00302-01-WRW 4:09CR00309-01-WRW;

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of $ _4_00_._0_0                     due immediately, balance due

           o     not later than                                      , or
           ri/ in accordance             o C,         0 D,      0      E, or     ri/ F below; or
B     0    Payment to begin immediately (may be combined with                  D C,       D D, or       0 F below); or
c     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     riI Special instructions regarding the payment of criminal monetary penalties:
           Restitution is mandatory and is payable during incarceration and supervised release. During incarceration, the
           defendant will pay 50 percent per month of all funds that are available to him. During residential re-entry
           placement, payments will be reduced to 10 percent of the defendant's gross monthly income. Beginning the first
           month of supervised release, payments will be 10 percent per month of the defendant's monthly gross income.
           The interest requirement in waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except Those payments made throUgh the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




ri/ Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

      Alan Lee Edward Glazier and Tracy Renee Estabrooks; 4:07CR00302-02; 4:09CR00309-02 and 4:09CR00311-02;
      $53,310.18 Uoint and several amount).



o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
